         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                         CRIMINAL NO. 1:06CR165


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )          ORDER
                                         )
                                         )
WILLIAM JOSEPH CRAIG                     )
                                         )


     THIS MATTER is before the Court on the Government's motion to

reduce Defendant's sentence pursuant to Rule 35(b) of the Federal Rules

of Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the Government's motion is

ALLOWED, and Defendant's sentence is hereby reduced from a term of 37

months imprisonment to a term of 24 months imprisonment, with all other

terms and conditions of the Judgment of Conviction to remain in full force

and effect. The Clerk of Court shall prepare an amended Judgment in

accordance with the terms herein.




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     The Clerk is directed to transmit this Order electronically to the

United States Attorney, defense counsel, the United States Marshal, the

United States Probation Office, and to the Warden of the federal

correctional facility where the Defendant is currently imprisoned; a copy of

the Order shall be mailed to the Defendant.

                                      Signed: October 29, 2007




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